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Name
Kenneth Fredrick Klein III

 

2125 S. Espina St. Apt 1 Las Cruces, NM

 

Address

 

 

 

 

 

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VS. DISTRIC TCO
DISTRICT POF NEW Mevoc

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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

 

Kenneth Fredrick Klein III

 

, Plaintiff
(Full Name)
V.
Christopher
and , Defendant(s)

Christina Rauls - Dolin

CASE NO. da CW qa

(To be supplied by the Clerk)

 

 

 

CIVIL RIGHTS COMPLAINT
PURSUANT TO 42 U.S.C.§1983

 

A. JURISDICTION

Kenneth F. Klein III

1)

 

(Plaintiff)

, is a citizen of

New Mexico

 

( State )

who presently resides at 2125 S. Espina St. Apt 1 Las Cruces, NM 88001

 

(Mailing address or place of confinement)

 

2) Defendant Christina Dolin

(Name of first defendant)

Chester, VA

is a citizen of

, and is employed as

 

(City, State)

At the time the claim(s)

 

( Position and title, if any)

alleged in this complaint arose, was this defendant acting under color of state law?

Yes [| No

If your answer is "Yes", briefly explain:

 

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CIVIL RIGHTS COMPLAINT (42 U.S.C. §1983)
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Christina Z. Rauls - Dolin . wa
3) Defendant is a citizen of

 

(Name of second defendant)
Chester, VA , and is employed as
(City, State)
At the time the claim(s)

 

( Position and title, if any)
alleged in this complaint arose, was this defendant acting under color of state.

Yes L] No If your answer is "Yes", briefly explain:

(Use the back of this page to furnish the above information for additional
defendants.)

4) Jurisdiction is invoked pursuant to 28 U.S.C. §1343(3), 42U.S.C. §1983. (If you
wish to assert Jurisdiction under different or additional statutes, you may list them
below.)

B. NATURE OF THE CASE

1) Briefly state the background of your case.

CRD and Christopher Dolin sought to issue and had issued not one, two or three warrants for criminal
process but upwards of twenty complaints. These various warrants were sworn in October and November
2021.

The nature of the “Complaints” was that Klein was “stalking” CRD and Christopher Dolin. All the Complaints
were self-verified by either CRD or Christopher Dolin and not independently verified by any law-enforcement
or other witnesses. None of the sworn complaints by Mr. Dolin had any factual basis and lacked any true
probable cause

As a result of the Criminal Complaints Klein was arrested and held in the Commonwealth of Virginia prison
system for a period of not less than thirty-two (32) days. Eventually, Klein was able to obtain bond and other
relief and was released As a result of the malicious and improper Criminal Complaints lodged against Klein
by CRD and Christopher Dolin, and his subsequent incarceration, Klein has lost his livelinood, has been
subjected to embarrassment, scorn and ridicule Ultimately, the Criminal Complaints filed by and lodged by
CRD and Christopher Dolin have been disproven and dismissed with prejudice. The final dismissal with
prejudice occurred on or about October 6, 2022 in Chesterfield General District Court.

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1)

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C. CAUSE OF ACTION

| allege that the following of my constitutional rights, privileges or immunities have been
violated and that the following facts form the basis for my allegations: (If necessary, you

may attach up to two additional pages (8 1/2" x 11") to explain any allegation or to list
additional supporting facts.

A)(1) Count |:

Violation of Klein’s Fourth Amendment (Amendment IV) to the United States Constitution

(2) Supporting Facts: (Include all facts you consider important, including names of
persons involved, places and dates. Describe exactly how each defendant is involved.
State the facts clearly in your own words without citing leagl authority or argument.)

Christopher and Christina knowingly acted in concert to ensure Klein was arrested and reamnded to the jail by
the amount of warrants they sought at the magistrates office in both Chesterfield and Richmond. While CRD
had sought protective orders, Christopher Dolin had sought out warrants for arrest. Furthermore CRD and
Christopher Dolin had lodged lawsuits against Klein in an effort to extort money from him.

B)(1) Count II:

(2) Supporting Facts:

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C)(1) Count Ill:

(2) Supporting Facts:

D) PREVIOUS LAWSUITS AND ADMINISTRATIVE RELIEF

1) Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action or otherwise relating to the conditions of your imprisonment?
Yes[_] No If your answer is "YES", describe each lawsuit. (If there is more
than one lawsuit, describe the additional lawsuits on another piece of paper, using the

same outline.)

a) Parties to previous lawsuit.

Plaintiffs:

 

Defendants:

 

b) Name of court and docket number:

C) Disposition (for example: Was the case dismissed? Was it appealed? Is it still
pending?

d) Issues raised:

 

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€) Approximate date of filing lawsuit:

 

f) Approximate date of disposition:

 

2) | have previously sought informal or formal releif from the appropriate administrative officials
regarding the acts complained of in Part C. Yes[_| No If your answer is "Yes",
briefly describe how relief was sought and the results. If your answer is "No," briefly explain
why administrative relief was not sought.

 

E. REQUEST FOR RELIEF

1) | believe that | am entitled to the following relief:

$50,000 from Christina Rawls - Dolin and $50,000 from Christopher Dolin. for their attempt to abuse the
process of the criminal justice system.

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Signature of Attorney (if any) Signature of Petitioner

 

 

Attorney's full address and telephone
number.

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DECLARATION UNDER PENALTY OF PERJURY

 

The undersigned declares under penalty of perjury that he is the plaintiff in the above action,
that he has read the above complaint and that the information contained therein is true and
correct. 28 U.S.C. Sec. 1746. 18 U.S.C. Sec. 1621.

Executed at on 20
(Location) (Date)

 

 

(Signature)

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In The United States District Court
for the District of New Mexico

Plaintiff:
Kenneth F. Klein III ) Case NO.

Vs
Defendant: )
Christina Zenobia Rawls- Dolin

COMPLAINT FOR MALICIOUS PROSECUTION,
WRONGFUL ABUSE OF PROCESS, & CIVIL RIGHTS
VIOLATIONS

 

 

Comes Now Kenneth F. Klein, ITI, pro se, and states the
following in support of his claim for damages against the
defendants

Kenneth Klein (“Klein”) was a resident of Petersburg Virginia at all
times relevant to this action.

Christina Rawls-Dolin (“CRD”) purportedly engaged in the business of
psychotherapy and counseling.

Christopher Dolin is the husband of CRD and has for reasons known only
to him sought to insert himself in this dispute.

Klein undertook and participated in several professional therapy
sessions with CRD.

As a result of the sessions, Klein and CRD encountered a billing dispute
(“Billing Dispute”) that involved the payment of a $50 deductible.

The Billing Dispute resulted in civil lawsuits being filed by CRD against
Klein and counterclaims.

At some point in this series of Billing Dispute, CRD and Christopher Dolin
sought to ramp up the litigation and the impact upon Klein.

As a result, CRD and Christopher Dolin sought to issue and had issued
not one, two or three warrants for criminal process but upwards of twenty

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complaints. These various warrants were sworn in October and November
2021.

9. These criminal complaints were filed in the City of Richmond and
Chesterfield County.

10. The nature of the “Complaints” was that Klein was “stalking” CRD
and Christopher Dolin. All the Complaints were self-verified by either CRD
or Christopher Dolin and not independently verified by any law-
enforcement or other witnesses. None of the sworn complaints by Mr.
Dolin had any factual basis and lacked any true probable cause

ll. As a result of the Criminal Complaints Klein was arrested and held
in the Commonwealth of Virginia prison system for a period of not less
than thirty-two (32) days. Eventually, Klein was able to obtain bonded and
other relief and was released

12. As aresult of the malicious and improper Criminal Complaints
lodged against Klein by CRD and Christopher Dolin, and his subsequent
incarceration, Klein has lost his livelihood, has been subjected to
embarrassment, scorn and ridicule

13. Kleins damages are both psychological as well as economic in that he
lives in constant fear that CRD and Christopher Dolin will target him again
in this malicious and abusive fashion

14. Ultimately, the Criminal Complaints filed by and lodged by CRD and
Christopher Dolin have been disproven and dismissed with prejudice. The
final dismissal with prejudice occurred on or about October 6, 20828 in
Chesterfield General District Court.

15. Having engaged in conduct involving the heinous direction of
criminal process towards Klein and now having their “Criminal
Complaints” ultimately dismissed, CRD and Christopher Dolin are legally
responsible for the malicious prosecution and malicious abuse of process.

16. The invalidity and illegal motivation of CRD and Christopher Dolin
are absolutely revealed by the fact that they sought not one or two
Criminal Complaints against Klein but in excess of twenty (24). The clear
aim of CRD and Christopher Dolin’s actions was to yield maximum
destructive force onto Klein by the overt misuse of criminal process.

17. Damages:

During the criminal proceedings Mr. Klein was held in custody at
either Chesterfield County Jail or Pamunkey Reg’1 Jail (from herein will be
referred to by facility names). For approximately 32 days while awaiting
appeal bail hearing in Chesterfield County Circuit Court.
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Mr. Klein was placed on bail on 24% December but was not released
from custody until 26 December 2021. Bail was set in the amount of $5,000 per
jurisdiction. He retained the services of Terrell’s Bail Bonding to handle all bail
bonding.

While on bail the plaintiff was required as a condition of release to be
subjected to continuous monitoring by GPS ankle monitoring. Which he was
charged for in the amount of $67.00 a week. The ankle monitor was removed
during the week of July 22" during a status hearing.

Klein retained the legal counsel of Paul C. Galanides P.C. in Richmond, Va.
Mr. Galanides was contracted to represent Mr. Klein in both the criminal cases
and the Protective orders. Mr. Galanides was contracted in the amount of
$6,000.

The plaintiff was then subjected to continuous damages while he was
wearing the ankle monitor and he had a difficult time finding gainful employment
while on bail. Which included his permanent termination from Lowes Home
improvement stores.

Klein has been unable to engage in gainful employment for at least 1 years as a
direct result of the Actions of CRD and Christopher Dolin.

Wherefore Kenneth Klein, III respectfully prays that this Honorable Court
grant him a judgment in the amount of $50,000 and award any and other such
further relief as justice may require given the egregious factual circumstances
presented by this case
